  Case 20-18488-MBK               Doc 756     Filed 07/19/22 Entered 07/19/22 14:19:37                       Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1


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Counsel to the Liquidation Trustee



In re:                                                                 Chapter 11

CC OLDCO CORPORATION,1                                                 Case No. 20-18488 (MBK)

                             Debtor.                                   Hearing Date: 7/21/22 at 10:00 a.m.

                                                                       Judge: Kaplan

                                           ADJOURNMENT REQUEST

    1.     I, Mary E. Seymour, a partner with Lowenstein Sandler LLP, counsel to the Liquidation
    Trustee of CC Oldco Corporation Liquidation Trust, hereby requests an adjournment of the
    following matter for the reasons set forth below.

             Matters:

               A. Notice of Intention to Close Case [Docket No. 728].

               Current Hearing Date:        July 21, 2022 at 10:00 a.m.

               New Hearing Date Requested: October 13, 2022 at 10:00 a.m.

               Reason for adjournment request:            Parties working to resolve open issues prior to
                                                          closure of case


    1
     The last four digits of the Debtor’s federal tax identification number are 8678. The mailing address for the above-
    captioned Debtor is CC Oldco Corporation c/o Dundon Advisers LLC, Attn: Matthew J. Dundon, Ten Bank Street,
    Suite 1100, White Plains, New York 10606

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    07/19/2022 211934289.1
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 2. Consent to adjournment:

 ☒ I have the consent of all parties.    ☐ I do not have the consent of all parties (explain below).

 I certify under penalty of perjury that the foregoing is true.



 Date: July 19, 2022                                    /s/ Mary E. Seymour
                                                        Signature

 COURT USE ONLY:



 The request for adjournment is:

 x Granted
 ☐                                  New hearing date:         10/13/22 At 10 am   ☐ Peremptory

 ☐ Granted over objection(s)        New hearing date:                             ☐ Peremptory

 ☐ Denied

             IMPORTANT: If your request is granted, you must notify interested parties
             who are not electronic filers of the new hearing date.




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